Case 1:21-cv-00279-JJM-PAS Document 1-1 Filed 07/02/21 Page 1 of 2 PagelD #: 25

UNIVERSITY
OF RHODE ISLAND

 

DIVISION OF
ACADEMIC AFFAIRS THINK Bic Ge we DO”
HONORS PROGRAM Cae)
300 Lippitt Hall, Kingston, R102881 USA _p: 401.874.2303 _—f: 401.874.5615 4

November 20, 2018

Dear Mr. Fosu:

Congratulations! On behalf of the Honors Program, we are pleased to offer you a
position as a Visiting Assistant Professor for the Spring 2019 semester. This
appointment begins December 23, 2018 and ends on Commencement Day. Your
annual salary for the appointment is at the rate of $74,000.00; pro-rated for the
semester it is $37,000.00. This appointment is non-union and subject to regulations as
set forth in the University Manual and other University policies, practices, and

procedures.

As a Visiting Assistant Professor in the Honors Program, your duties will include
teaching two sections of HPR 224G and HDF 414 for the Leadership Studies minor in
Spring 2019. In addition, working with Dr. Rachel DiCioccio, you will develop at least
one Grand Challenge course for the general education program that will be offered in
Fall 2019. You will be expected to hold regular office hours for consultation with
students. In addition, you will be expected to attend meetings as they pertain to
curricular and teaching issues within the Honors Program.

It is our expectation that we will offer you a Faculty of Practice position in the next
academic year within an academic department or jointly within two departments. We
will work with you and the department(s) to determine the specific requirements of this
position. This offer will be contingent upon your success in teaching and student
learning in the Spring 2019 semester.

URI is committed to building and sustaining a community based on inclusiveness,
equity, and diversity. We expect all new faculty members to engage with students and
colleagues in ways that reflect these values that are central to our identity and mission.
These key values are part of the guiding vision of the President and embedded within
the goals and strategies of the University's Academic Plan
(https://web.uri.edu/academic-planning/files/academic plan handbook.pdf).

You will be receiving a package of materials from the Human Resources Office
outlining the benefits you are eligible for and containing enrollment forms and related
documents, as well as contact information for meeting with Human Resources
representatives to complete new employee paperwork. In the meantime, you can

review benefits information online by going to our website
https://web.uri.edu/hr/benefits. You may address benefits questions to Dawn Smith

(401-874-9054 or dawns@uriedu).

The University of Rhode Island is an equal opportunity employer committed to the principles of affirmative action.
Case 1:21-cv-00279-JJM-PAS Document 1-1 Filed 07/02/21 Page 2 of 2 PagelD #: 26

This agreement supersedes all other agreements, oral or written, between the
parties and is the complete agreement between you and the University. This
agreement and any modifications shall not be valid until and unless signed by all
persons whose offices are listed below. If you are willing to accept this offer in
accordance with the terms stated in this letter, please sign your name below and
return it no later than 11/28/2018 to Lynne Derbyshire, Honors Program, University of
Rhode Island, Lippitt Hall, Kingston, RI 02881. A copy of this letter is enclosed for
your records.

Louis, I want to welcome you to the University of Rhode Island and look forward
to your contributing to our teaching mission and the success of our student
learning.

Sincerely,

Laue aba
ma erbyshire
Director, Honors Program

ce! Donald DeHayes, Provost and Vice President for Academic Affairs
Matthew Bodah, Vice Provost for Academic Personnel and Budget
Roxanne Gomes, Director, Affirmative Action, Equal Opportunity, and
Diversity
Sue Adams, Chair, Human Development and Family Studies
Rachel DiCioccio, Director, Office of Innovation in General Education

l accept this offer and its stated terms,

 

Signature Date

 

 
